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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

                                                 §
AGIS SOFTWARE DEVELOPMENT                        §
LLC,                                             §     Case No.
                                                 §
                            Plaintiff,           §     JURY TRIAL DEMANDED
                                                 §
            v.                                   §
                                                 §
GOOGLE LLC,                                      §
                                                 §
                            Defendant.           §
                                                 §


       PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, AGIS Software Development LLC (“AGIS Software” or “Plaintiff”) files this

original Complaint against Defendant Google LLC (“Defendant” or “Google”) for patent

infringement under 35 U.S.C. § 271 and alleges as follows:

                                         THE PARTIES

       1.        Plaintiff AGIS Software is a limited liability company organized and existing

under the laws of the State of Texas, and maintains its principal place of business at 100 W.

Houston Street, Marshall, Texas 75670. AGIS Software is the owner of all right, title, and

interest in and to U.S. Patent Nos. 8,213,970, 9,408,055, 9,445,251, 9,467,838, 9,749,829, and

9,820,123 (the “Patents-in-Suit”).

       2.        Defendant Google is a Delaware corporation and maintains its principal place of

business at 1600 Amphitheatre Parkway, Mountain View, California 94043, and may be served

with process via its registered agent, Corporation Service Company at 251 Little Falls Drive,

Wilmington, DE 19808. Upon information and belief, Google does business in Texas, directly

or through intermediaries, and offers its products and/or services, including those accused herein
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of infringement, to customers and potential customers located in Texas, including in the judicial

Eastern District of Texas.

                                 JURISDICTION AND VENUE

        3.     This is an action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. §§ 1, et seq. This Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331, 1338(a), and 1367.

        4.     This Court has personal jurisdiction over Google in this action because Google

has committed acts within the Eastern District of Texas giving rise to this action and has

established minimum contacts with this forum such that the exercise of jurisdiction over Google

would not offend traditional notions of fair play and substantial justice. Google conducts

business and has committed acts of patent infringement and/or has induced acts of patent

infringement by others in this Judicial District and/or has contributed to patent infringement by

others in this Judicial District, the State of Texas, and elsewhere in the United States by, among

other things, offering to sell and selling products and/or services that infringe the Patents-in-Suit.

        5.     Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and

1400(b). Google is registered to do business in Texas and, upon information and belief, Google

has transacted business in the Eastern District of Texas and has committed acts of direct and

indirect infringement in the Eastern District of Texas. Google has regular and established places

of business in this Judicial District as set forth below and is deemed to reside in this Judicial

District.

        6.     Google is a multi-national technology company that collects, stores, organizes,

and distributes data. In addition to its service model for distribution of data (e.g., movies, search

results, maps, music, etc.), Google has an expansive regime that gathers data on residents of this




                                                  2
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District through the hardware devices it sells (e.g., phones, tablets, and home audio devices) and,

also, through the operating systems and apps it provides. As an example, Google gathers data

when a resident runs its operating systems and apps (e.g. location services).1 As another

example, Google gathers data when a resident interacts with Google’s plethora of services such

as search, email, music, and movie streaming. See https://safety.google/privacy/data/ (indicating

that Google gathers data from “things you search for,” “Videos you watch,” “Ads you view or

click,” “Your location,” “Websites you visit,” and “Apps, browsers, and devices you use to

access Google services”). As yet another example, Google gathers data “where you’ve been,”

“everything you’ve ever searched—and deleted,” “all the apps you use,” “all of your YouTube

history,” “which events you attended, and when,” “information you deleted [on your computer],”

“your workout routine,” “years’ worth of photos,” and “every email you ever sent.”2

       7.      In addition to extensive data gathering of information on residents of this District,

Google has a substantial presence in this District directly through the products and services

Google provides residents of this District (some of which also gather data).3

       8.      Google describes itself as an “information company.”4 Its vision is “to provide

access to the world’s information in one click,” and its mission is “to organize the world’s




1
  See e.g., “AP Exclusive: Google tracks your movements, like it or not,”
https://apnews.com/828aefab64d4411bac257a07c1af0ecb/AP-Exclusive:-Google-tracks-your-
movements,-like-it-or-not.
2
  See https://www.theguardian.com/commentisfree/2018/mar/28/all-the-data-facebook-google-
has-on-you-privacy.
3
  Non-limiting examples include Google Search, Maps, Translate, Chrome Browser, YouTube,
YouTube TV, Google Play Music, Chromecast, Google Play Movies and TV, Android Phones,
Android Wear, Chromebooks, Android Auto, Gmail, Google Allo, Google Duo, Google+,
Google Photos, Google Contacts, Google Calendar, Google Keep, Google Docs, Google Sheets,
Google Slides, Google Drive, Google Voice, Google Assistant, Android operating system,
Project Fi Wireless phone systems, Google Pixel, Google Home, Google Wifi, Daydream View,
Chromecast Ultra.


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information and make it universally accessible and useful.”5 Making information available to

people wherever they are and as quickly as possible is critical to Google’s business.

Google Global Cache (GGC)

       9.      Google’s CEO, Sundar Pichai, explained, “We want to make sure that no matter

who you are and where you are or how advanced the device you are using—Google works for

you.”6 To meet this goal, Google developed a content delivery network that it calls the Edge

Network.

       10.     One non-limiting example of physical presence in this District is Google’s Edge

Network. Google provides web-based products and services, such as Google Maps, Find My

Device, and Google Chrome, to users throughout the world, including in this District. These

products and services are in high demand. Google reports that the Android operating system has

more than 2 billion monthly active devices, and Google Maps surpassed 1 billion users as of

May 2017.7

       11.     Google’s Edge Network, itself, has three elements: Core Data Centers, Edge

Points of Presence, and Edge Nodes.8 The Core Data Centers (there are eight in the United

States) are used for computation and backend storage. Edge Points of Presence are the middle

tier of the Edge Network and connect the Data Centers to the internet. Edge Nodes are the layer

of the network closest to users. Popular content, including Google Maps, Google Messages,




4
  See “This Year’s Founder’s Letter” by Alphabet CEO, Sundar Pichai,
https://blog.google/inside-google/alphabet/this-years-founders-letter//.
5
  https://panmore.com/google-vision-statement-mission-statement.
6
  https://time.com/4311233/google-ceo-sundar-pichai-letter/.
7
  See https://www.theverge.com/2017/5/17/15654454/android-reaches-2-billion-monthly-active-
users.
8
  https://peering.google.com/#/infrastructure.


                                                4
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mobile apps, and other digital content from the Google Play store, is cached on the Edge Nodes,

which Google refers to as Google Global Cache or “GGC.”

         12.    Google Global Cache is recognized as one of Google’s most important pieces of

infrastructure,”9 and Google uses it to conduct the business of providing access to the world’s

information. GGC servers in the Edge Nodes function as local data warehouses, much like a

shoe manufacturer might have warehouses around the country. Instead of requiring people to

obtain information from distant Core Data Centers, which would introduce delay, Google stores

information in the local GGC servers to provide quick access to the data.

         13.    Caching and localization are vital for Google’s optimization of network resources.

Because hosting all content everywhere is inefficient, it makes sense to cache popular content

and serve it locally. Doing so brings delivery costs down for Google, network operators, and

internet service providers. Storing content locally also allows it to be delivered more quickly,

which improves user experience. Serving content from the edge of the network closer to the user

improves performance and user happiness. To achieve these benefits, Google has placed Edge

Nodes throughout the United States, including in this District. Google describes these Edge

Nodes as the workhorses of video delivery.

         14.    Google’s GGC servers are housed in spaces in this District leased by Google.

Google’s GGC servers are housed in spaces leased by Google from Internet Service Providers

(ISPs) whose networks have substantial traffic to Google and are interested in saving bandwidth.

Hosting Google servers allows ISPs to save both bandwidth and costs, as they do not incur the

expense of carrying traffic across their peering and/or transit links.




9
    https://www.blog.speedchecker.xyz/2015/11/30/demystifying-google-global-cache/.


                                                  5
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       15.       When an ISP agrees to host a GGC server, the parties enter into a Global Cache

Service Agreement, under which Google provides:

            hardware and software—including GGC servers and software—to be housed in the

             host’s facilities;

            technical support; service management of the hardware and software; and

            content distribution services, including content caching and video streaming.

In exchange, the host provides, among other things, a physical building, rack space where

Google’s computer hardware is mounted, power, and network interfaces. All ownership rights,

title, and intellectual property rights in and to the equipment (i.e., the hardware and software

provided by Google) remain with Google and/or its licensors.

       16.       Multiple ISP-hosted GGC servers are in this District. Google provides the

location of its GGC servers, namely, Sherman, Tyler, and Texarkana.




                                                  6
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Source: Uniloc 2017 LLC v. Google LLC, Case No. 2:18-cv-00550, Dkt. 1 at 8 (E.D. Tex. 2018);
https://peering.google.com/#/infrastructure.

       17.      Suddenlink Communications, for example, is an ISP that hosts six GGC servers in

Tyler, Texas.

       18.      CableOne is an ISP that hosts three GGC servers in Sherman, Texas, and three

GGC servers in Texarkana, Texas.

       19.      Google caches content on these GGC servers located in this District.

       20.      Google’s GGC servers located in this District cache content that includes, among

other things: (a) maps; (b) messages; and (c) digital content from the Google Play store.

       21.      Google’s GGC servers located in this District deliver cached content for the items

in the preceding paragraph to residents in this District.



                                                  7
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       22.     Google generates revenue (a) by delivering video advertising; (b) from apps; and

(c) from digital content in the Google Play store.

       23.     Google treats its GGC servers in this District the same as it treats all of its other

GGC servers in the United States.

       24.     The photographs below show Google’s GGC servers hosted by Suddenlink and

the building where they are located at 322 North Glenwood Boulevard, Tyler, Texas 75702.




       25.     Google not only exercises exclusive control over the digital aspects of the GGC,

but also exercises exclusive control over the physical server and the physical space within which

the server is located and maintained.

       26.     This District has previously determined that the GGC server itself and the place of

the GGC server, both independently and together, meet the statutory requirement of a “physical

place.” See Seven Networks, LLC v. Google LLC, Case No. 2:17-cv-00442-JRG, Dkt. 235 at 24

(E.D. Tex. July 19, 2018).

       27.     Likewise, this District has determined that GGC servers and their several

locations within this District constitute “regular and established place[s] of business” within the




                                                  8
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meaning of the special patent venue statute. See Seven Networks, LLC v. Google LLC, Case No.

2:17-cv-00442-JRG, Dkt. 235 at 38 (E.D. Tex. July 19, 2018).

        28.    Similarly, this District has determined that the GGC servers and their locations

within the various ISPs within this District are “places of Google” sufficient to meet the statutory

requirement of § 1400(b). See Seven Networks, LLC v. Google LLC, Case No. 2:17-cv-00442-

JRG, Dkt. 235 at 41 (E.D. Tex. July 19, 2018).

Google’s Google Wi-Fi at Starbucks Locations in This District

        29.    Google provides Wi-Fi infrastructure and Wi-Fi service at Starbucks locations in

this District.10 Google and Starbucks entered into an agreement in which Google provides its

Google Wi-Fi or Google Fiber service at all Starbucks locations in this District, including at

Starbucks stores and at Target stores.11 First-time customers connect and use Google Wi-Fi on

their devices in this District by selecting “Google Starbucks” from their respective device’s list

of available wireless networks and entering their respective name, email address, and postal

code. Return customers are automatically connected to Google Wi-Fi on their respective devices

at any Google Wi-Fi location. Upon connecting to the Google Wi-Fi locations in this District,

Google provides connected customers with Internet access over Google’s infrastructure and

services.




10
   See https://customerservice.starbucks.com/app/answers/detail/a_id/5796/~/how-can-i-access-
wifi-in-starbucks-stores%3F;
https://support.google.com/fiber/answer/3289712?visit_id=637050364069556126-
264756134&hl=en&rd=1;
11
   https://www.starbucks.com/store-locator?map=32.467135,-95.387478,8z


                                                 9
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Source: https://www.starbucks.com/store-locator/store/15590/mc-cann-loop-281-407-w-loop-

281-longview-tx-756054449-us.

       30.     Google uses its Google Wi-Fi infrastructure and Google Wi-Fi services at

Starbucks locations in this District to provide customers with telecommunications services

through its own phone carrier network, Google Fi. Google Fi is owned and operated by Google.

In order to use Google Fi phone service in this District, Google provides its customers with

special SIM cards and software to connect to and automatically switch between four sources of

network infrastructure and services: T-Mobile, Sprint, US Cellular, and public Wi-Fi networks.

As described below, Google has entered into agreements with T-Mobile, Sprint, and US Cellular

to lease the carriers’ infrastructure and services to provide Google Fi customers with voice and


                                                10
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data services. As a fourth source, Google Fi uses public Wi-Fi networks, including the Google

Wi-Fi at Starbucks locations in this District, to provide its phone carrier service. The Google

Wi-Fi at Starbucks locations in this District are fixed geographical locations. They are “regular”

and “established” because they operate in a “steady, uniform, orderly, and methodical manner”

and are sufficiently permanent. They are “of the defendant” because Google has contractual

and/or property rights to use the Google Wi-Fi locations to operate its businesses, including the

Google Fi phone carrier business.

       31.     Google determines whether a Google Fi customer in this District uses a certain

Wi-Fi network, including the Google Wi-Fi networks at Starbucks locations, using the Google-

provided SIM card and software on the customer’s phone.




Source: https://fi.google.com/about/coverage/




                                                11
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Google’s “Google Fi”

       32.     As described above, Google owns, operates, and provides telecommunications

infrastructure and service in this District through its own phone carrier network, Google Fi.

Google provides cellular and Wi-Fi infrastructure and services for phone, messaging, and data

services in this District. Google provides its customers voice and high-speed data coverage (4G

LTE) for cities such as Tyler, Longview, and Marshall, Texas.




Source: https://fi.google.com/coverage?q=Marshall%2C$20TX$2C%20USA

       33.     The cell towers used for Google’s services are fixed geographical locations. They

are “regular” and “established” because they operate in a “steady, uniform, orderly, and

methodical manner” and are sufficiently permanent. They are “of the defendant” because

Google has contractual and/or property rights to use the cell towers to operate its business.

Google also ratifies the service locations through its coverage lookup service.




                                                12
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Source: https://fi.google.com/about/coverage/

       34.        With this coverage lookup service, Google advertises its ability to provide cell

coverage in this District and its selected cell towers in and near this District to provide the

advertised coverage (e.g., 2G, 3G, or 4G LTE) depending on the location in the District. See

https://fi.google.com/about/coverage/. Google is not indifferent to the location of its cell towers.

It “established” and “ratified” them where they are for a specific business purpose.

       35.        Residents of this District also directly contract with and are billed by Google for

these services.




                                                   13
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Source: https://fi.google.com/about/plan/

       36.     Google also determines which cell tower a particular Google Fi customer will use

while within this District.




Source: https://fi.google.com/about/faq/#coverage-3

Google Cloud Interconnect (GCI) and Direct Peering

       37.     Google additionally services its customers in this District (and other districts)

through yet other facilities it has in this District. More specifically, Google’s equipment is

located in this District in Denton County, Texas at two facilities referred to as “Megaport.” At

the MegaPort facilities in this District, Google offers two services: Google Cloud Interconnect

(GCI) and Direct Peering.

       38.     Google’s Cloud Interconnect (GCI) is a service from Google that allows

customers to connect to Google’s Cloud Platform directly, as opposed to, for example, over the

public network.




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Source: https://cloud.google.com/interconnect/docs/concepts/partner-overview




                                             15
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        39.     Google’s Direct Peering services allows its customers to exchange Internet traffic

between its customers’ networks and Google’s at one of its broad-reaching Edge network

locations, such as the one at Megaport.




Source: https://cloud.google.com/interconnect/docs/how-to/direct-peering

        40.     In establishing such a direct connection, Google provides the necessary physical

equipment at Megaport to enable GCI or Direct Peering connections. Google advertises only

two GCI facilities in Texas—the Equinix facility and the Megaport facility (the latter one is

located in this District).




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Source: https://www.cloud.google.com/interconnect/docs/concepts/service-providers#by-
location

       41.     Clicking on the Megaport link from the screenshot of Google’s website in the

preceding paragraph directs a customer to the details of directly connecting to Google’s

equipment at the facility in this District to connect to Google’s GCI service.




Source: https://www.megaport.com/services/google-cloud-partner-interconnect/

       42.     More particularly, the Google-linked Megaport site explains how a Google

customer can use the Google Cloud Platform console to enable connection to the Google

equipment at the Megaport facility in this District.



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Source: https://knowledgebase.megaport.com/cloud-connectivity/google-cloud/

       43.    Both Google’s website and Megaport’s website advertise the peering service and

point a consumer to the website, www.peeringdb.com, for details. The peering DB website lists

Megaport Dallas as a Google peering facility.




Source: https://cloud.google.com/interconnect/docs/how-to/direct-peering



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Source: https://knowledgebase.megaport.com/cloud-connectivity/google-cloud-platform-direct-
peering/




Source: https://www.peeringdb.com/net/433

       44.    Megaport’s website also confirms, in its “Looking Glass” tool, the presence of

Google at its facility—(AS No. 15169).




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Source: https://lg.megaport.com/

       45.     Both of Megaport’s “Dallas” locations are in the Eastern District of Texas in

Denton County.12 The larger Megaport facility, the Carrollton facility, is located at 1649 West

Frankford Road, and is the largest of its kind in the State of Texas.13 The smaller Megaport

facility, the Lewisville facility, is located at 2501 S. State Highway 121.14

       46.     The Google equipment at Megaport’s facilities which provides the GCI and

Direct Peering services for Google customers are fixed geographical locations. They are

“regular” and “established” because they operate in a “steady, uniform, orderly, and methodical

manner” and are sufficiently permanent. They are “of the defendant” because Google holds

contractual and/or property rights to use this space and to maintain this equipment. Google also




12
   https://www.megaport.com/blog/cyrusone-brings-dallas-closer-cloud/.
13
   Id.
14
   Id.


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ratifies the equipment through advertising of the Megaport location as authorized to provide

these Google services.

Other Google Presence in this District

        47.     In addition to the Google presence described above, Google has other pervasive

contracts in this District.

        48.     Google has multiple authorized repair centers in the Eastern District of Texas. A

resident can visit Google’s website to find a list of these repair centers:




                                                  21
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Source: https://support.google.com/store/answer/7182296?hl=en

        49.      Google’s only authorized walk-in repair center, uBreakiFix, lists at least four

facilities in this District:




Source: https://www.ubreakifix.com/google




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Source: https://www.ubreakifix.com/google

         50.     Google and uBreakiFix teamed up to offer free repairs to those impacted by

Hurricane Florence.15

         51.     uBreakiFix has fixed geographical locations. They are “regular” and

“established” because they operate in a “steady, uniform, orderly, and methodical manner” and

are sufficiently permanent. These stores are “of the defendant” because Google has contractual

rights with uBreakiFix—the only authorized walk-in repair centers in the United States. Google

also ratifies these facilities through its advertising of them through its website.

         52.     Google also has branded, mail-in repair service that is contracted with a company

called KMT Wireless, LLC, d/b/a Cynergy Hitech. Cynergy Hitech receives phones at its

facility in Grapevine, Texas.


15
     See https://www.ubreakifix.com/blog/hurricane-florence


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Source: https://support.google.com/store/answer/7182296?hl=en

       53.    Google has operated and is currently operating its Google Maps Street View

business and services in this District. For example, the image below shows the Google Maps

Street View of the Eastern District of Texas courthouse in Marshall.




                                               24
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Source: https://www.google.com/maps/@32.5447301,-
94.3670612,3a,75y,170.09h,88.95t/data=!3m6!1e1!3m4!1smECZXlUFylR2yu5E-
6wj2g!2e0!7i13312!8i6656

Furthermore, in the lower right-hand corner of the Google Street View above, the image is

credited to Google and states that it was captured in December 2018.




         54.     Google also operates a Street View car in and around this District in order to

provide the Google Maps Street View service.16

         55.     In addition to the above Google Street View image, Google operates and

continues to operate a fleet of Google Street View vehicles in this District, including in the

16
     See https://www.google.com/streetview/explore/.


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counties of Houston, Trinity, Polk, Angelina, Anderson, VanZandt, Denton, and Collin, as

shown below.




Source: https://www.google.com/streetview/explore/

       56.     Google also has operated and currently operates its Google Express business and

services in this District. Google Express allows residents of this District to shop—directly from

Google’s websites—for select products with companies that Google has contracted with.




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Source: https://express.google.com/u/0/about

To verify which stores a user may shop, a resident enters his or her zip code and begins shopping

at the Google contracted stores. The image below shows the Google Express website showing

that its business and services are available in this District.




Sources: https://www.google.com/express/

        57.     Google provides its Google Express business and services to the residents of this

District by advertising and inviting the residents of this District, then Defendant arranges for a


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delivery company to bring the goods and products purchased through the Google Express

website to the residents of this District.17 This service uses fixed geographical stores in this

District. They are “regular” and “established” because they operate in a “steady, uniform,

orderly, and methodical manner” and are sufficiently permanent. They are “of the defendant”

because Google ratifies the stores (and selects products of the stores) through its website. Only

information provided by Google through its service can be purchased, although the store may

have other items for sale.

          58.    Google previously leased office space in this District for about 50 people through

its Frisco, Texas office.

          59.    Google also provides services to businesses and schools in this District, including

email services, word processing software, electronic file storage services, and video conferencing

services. Google brands such services as “G Suite” services. Non-limiting examples of such

businesses and schools include the Frisco Independent School District, as shown below.18




17
     See https://support.google.com/express/answer/4561693?hl=en.
18
     http://schools.friscoisd.org/hs/lebanontrail/site/resources/google-apps-information.


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Source: http://schools.friscoisd.org/hs/lebanontrail/site/resources/google-apps-information

       60.     Google also provides advertising services to businesses in this District, including

soliciting reviews of patrons that have visited a business in the Eastern District of Texas, as

shown below.




Source: Product Testing at https://www.google.com/maps


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          61.    Google also monitors traffic conditions in this District. For example, traffic

conditions between a McDonalds and the Federal Courthouse in Marshall, as shown below.




Source: Product Testing at https://www.google.com/maps

          62.    Separate and apart from its Google Fi mobile service, Google also provides

telephone services to residents in this District through a product it calls Google Voice.19




19
     https://voice.google.com/u/0/signup.


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Source: https://voice.google.com/u/0/signup

       63.     Google provides Software-as-a-Service applications, including email and server

space, to Texas public universities. Non-limiting examples of such universities are Texas A&M

University (which has facilities in this District) and Texas A&M Commerce (located in this

District), as show below.




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Source: http://google.tamu.edu/




Source: http://mailman.tamuc.edu/pipermail/students/2012-May/004325.html

Other Google Presence in the State

       64.     Google also has a pervasive connection to the State of Texas through multiple

commercial activities.




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       65.      Google has purchased land in Midlothian, Texas where it is currently constructing

a $600 million data center.20

       66.      Since 2007, Google has employed “hundreds” of employees in Texas, including

in Austin, Texas.21

       67.      Google has at least one current office located in Austin, on North MoPac

Expressway,22 and additional office locations at University Park and Austin Children’s

Museum.23

       68.      Google has leased over 200,000 square feet of office space in Austin, Texas at

500 West 2nd Street.24

       69.      Google has, as of August 2019, job postings for Addison, Texas; Dallas, Texas;

Midlothian, Texas; and Austin, Texas (89 postings) including positions such as:

            Key Account Director/Executive, Google Cloud (Austin, Texas);

            B4 WAN Engineer (Addison, Texas);

            Site Manager, Hardware Operations (Midlothian, Texas); and

            Technical Writer (Dallas, Texas).

       70.      Upon information and belief, Defendant has at least eleven (11) entities registered

in Texas, including:

            GOOGLE LLC

20
   See https://www.dallasnews.com/business/real-estate/2019/06/14/google-s-massive-600m-
data-center-takes-shape-in-ellis-county-as-tech-giant-ups-texas-presence/.
21
   According to Gerardo Interiano, Google’s public affairs and government relations manager, in
a statement. See http://www.statesman.com/business/google-lease-200-000-square-feet-
newdowntown-austin-tower/SANZSa3du8QQ4k8ytOC2rJ/.
22
   See https://www.google.com/intl/en/about/locations/?region=north-america.
23
   See http://www.statesman.com/business/google-lease-200-000-square-feet-new-
downtownaustin-tower/SANZSa3du8QQ4k8ytOC2rJ/.
24
   See http://www.statesman.com/business/google-lease-200-000-square-feet-new-
downtownaustin-tower/SANZSa3du8QQ4k8ytOC2rJ/.


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            GOOGLE ACQUISITION HOLDING, INC.

            GOOGLE COMPARE AUTO INSURANCE SERVICES INC.

            GOOGLE COMPARE CREDIT CARDS INC.

            GOOGLE COMPARE MORTGAGES INC.

            GOOGLE FIBER INC.

            GOOGLE FIBER NORTH AMERICA INC.

            GOOGLE FIBER TEXAS, LLC

            GOOGLE INC.

            GOOGLE NORTH AMERICA INC.

            GOOGLE PAYMENT CORP.

       71.     Google has provided, currently provides, and is currently offering to provide its

Google Fiber services to the residents of Austin, Texas and San Antonio, Texas.25

       72.     Google has invested $200,000,000 in the Spinning Spur Wind Farm Project in

Oldham County, Texas.26

       73.     Google provides the State of Texas with aerial imagery.27

       74.     Google acquired Waze in 2013,28 and Google’s Waze traffic app partners with

cities and businesses in Texas, non-limiting examples include the Waze partnership with the City

of Fort Worth to provide constant traffic data to the city.29 Another non-limiting example



25
   See https://fiber.google.com/cities/austin/ and https://fiber.google.com/cities/sanantonio/.
26
   See https://www.chooseenergy.com/blog/energy-news/google-invests-200m-in-west-texas-
windfarm/.
27
    See http://www.bisconsultants.com/affordable-imagery-for-texas-government-entities-
fromgoogle/.
28
   See https://techcrunch.com/2013/06/11/its-official-google-buys-waze-giving-a-social-
databoost-to-its-location-and-mapping-business/.
29
   See http://dfw.cbslocal.com/2016/12/14/forth-worth-partners-with-waze-traffic-app/.


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includes the Waze partnership with the Genesis Group in Tyler to decrease emergency response

times.30

                                      PATENTS-IN-SUIT

       75.     On July 3, 2012, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 8,213,970 (the “’970 Patent”) entitled “Method of Utilizing Forced Alerts

for Interactive Remote Communications.” A true and correct copy of the ’970 Patent is attached

hereto as Exhibit A.

       76.     On August 2, 2016, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,408,055 (the “’055 Patent”) entitled “Method to Provide Ad Hoc

and Password Protected Digital and Voice Networks.” A true and correct copy of the ’055

Patent is attached hereto as Exhibit B.

       77.     On September 13, 2016, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,445,251 (the “’251 Patent”) entitled “Method to Provide Ad Hoc

and Password Protected Digital and Voice Networks.” A true and correct copy of the ’251

Patent is attached hereto as Exhibit C.

       78.     On October 11, 2016, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,467,838 (the “’838 Patent”) entitled “Method to Provide Ad Hoc

and Password Protected Digital and Voice Networks.” A true and correct copy of the ’838

Patent is attached hereto as Exhibit D.

       79.     On August 29, 2017, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,749,829 (the “’829 Patent”) entitled “Method to Provide Ad Hoc




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   See https://genesispulse.com/2015/10/06/the-genesis-group-joins-waze-connected-
citizensprogram/.


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and Password Protected Digital and Voice Networks.” A true and correct copy of the ’829

Patent is attached hereto as Exhibit E.

        80.      On November 14, 2017, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,820,123 (the “’123 Patent”) entitled “Method to Provide Ad Hoc

and Password Protected Digital and Voice Networks.” A true and correct copy of the ’123

Patent is attached hereto as Exhibit F.

                                  FACTUAL ALLEGATIONS

        81.      Malcolm K. “Cap” Beyer, Jr., a graduate of the United States Naval Academy and

a former U.S. Marine, is the CEO of AGIS Software and a named inventor of the AGIS patent

portfolio. Mr. Beyer founded Advanced Ground Information Systems, Inc. (“AGIS, Inc.”)

shortly after the September 11, 2001 terrorist attacks because he believed that many first-

responder and civilian lives could have been saved through the implementation of a better

communication system. He envisioned and developed a new communication system that would

use integrated software and hardware components on mobile devices to give users situational

awareness superior to systems provided by conventional military and first-responder radio

systems.

        82.      AGIS, Inc. developed prototypes that matured into its LifeRing system. LifeRing

provides first-responders, law enforcement, and military personnel with what is essentially a

tactical operations center built into hand-held mobile devices. Using GPS-based location

technology and existing or special-purpose cellular communication networks, LifeRing users can

exchange location, heading, speed, and other information with other members of a group, view

each other’s locations on maps and satellite images, and rapidly communicate and coordinate

their efforts.




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       83.     AGIS Software licenses its patent portfolio, including the ’970, ’055, ’251, ’838,

’829, and ’123 Patents, to AGIS, Inc. AGIS, Inc.’s LifeRing product practices one or more of

the patents in the AGIS portfolio and AGIS, Inc. has marked its products accordingly.

       84.     AGIS Software and all previous assignees of the Patents-in-Suit have complied

with the requirements of 35 U.S.C. § 287(a).

       85.     Google licenses the Android operating system to third parties, who design their

own products that utilize the Android operating system. The Android operating system is the

most widely used in smartphones and other mobile devices.

       86.     Google manufactures, uses, sells, offers for sale, and/or imports into the United

States products, such as [1] Google smartphones and tablets (including, but not limited to, the

Nexus S, Galaxy Nexus, Nexus 4, Nexus 5, Nexus 6, Nexus 5X, Nexus 6P, Nexus 7 1st Gen.,

Nexus 7 2nd Gen., Nexus 10, Google Pixel, Pixel XL, Pixel 2, Pixel 2 XL, Pixel 3, Pixel 3 XL,

Pixel 3a, Pixel 3a XL, Pixel C, and Pixel Slate), [2] Chrome-based notebooks (including, but not

limited to, Chromebook Pixel 2013, Chromebook Pixel 2015, and Pixelbook), [3] the Android

operating system (including, but not limited to, versions 2.2 through 10.0, [4] the Android Wear

OS (including, but not limited to, versions 4.4W1, 4.4W2, Android Wear 1.0 through Android

Wear 2.9, and Wear OS 1.0 through Wear OS 2.8), [5] Android Auto, [6] Android-based

applications and/or services (including, but not limited to, Google Maps, Find My Device

(formerly Android Device Manager), Trust Contacts, Family Link, Play Protect, Chrome

browser, Hangouts, Latitude, Messages, Android Messenger, Google Plus, Google Duo, Google

Contacts, and Android Auto, and [8] Google’s servers for providing services related to the above

Android OS, Android Wear OS, Android Auto, and Android-based applications (collectively,

“Accused Products”). The Accused Products include applications and software including, but




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not limited to, the above-listed applications and/or features as components of its operating

system and as downloads from a pre-installed application store, such as the Play Store, in the

Accused Products. The Accused Products, together with Google’s software components such as,

but not limited to, Google Maps, Find My Device (former Android Device Manager), Trust

Contacts, Family Link, Play Protect, Chrome browser, Hangouts, Latitude, Messages, Android

Messenger, Google Plus, Google Duo, Google Contacts, and Android Auto apps are configured

to interact with Google’s servers which provide services related to the above Android OS,

Android Wear OS, Android Auto, and Android-based applications, among other services

provided by Google and utilized by Google’s customers when operating the Accused Products,

such as the Google smartphones and tablets, Chrome-based notebooks, Android Wear, and

Android Auto, identified herein.

       87.     The Accused Products include functionalities that allow users to form groups with

other users such that users may view each other’s locations on a map and engage in

communication including text, voice, and multimedia-based communication. Additionally, the

users may form groups that include their own devices in order to track their own lost or stolen

devices, as shown below; to send and receive communications from their own lost or stolen

Accused Products; and to remotely control the lost or stolen Accused Products.




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                                            COUNT I
                                 (Infringement of the ’970 Patent)

        88.      Paragraphs 1 through 87 are incorporated herein by reference as if fully set forth

in their entireties.

        89.      AGIS Software has not licensed or otherwise authorized Defendant to make, use,

offer for sale, sell, or import any Accused Products and/or products that embody the inventions

of the ’970 Patent.

        90.      Defendant has and continues to directly infringe at least claim 10 of the ’970

Patent, either literally or under the doctrine of equivalents, by making, using, offering to sell,

selling and/or importing into the United States the Accused Products without authority and in

violation of 35 U.S.C. § 271(a).

        91.      Defendant has and continues to indirectly infringe at least claim 10 of the ’970

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either

literally or under the doctrine of equivalents, by making, using, offering to sell, selling and/or

importing into the United States the infringing Accused Products and by instructing users of the

Accused Products to perform at least the method of claim 10 in the ’970 Patent. For example,

Defendant, with knowledge that the Accused Products infringe the ’970 Patent at least as of the

date of this Complaint, actively, knowingly, and intentionally induced, and continues to actively,

knowingly, and intentionally induce, direct infringement of at least claim 10 of the ’970 Patent in

violation of 35 U.S.C. § 271(b).

        92.      For example, Defendant has indirectly infringed and continues to indirectly

infringe at least claim 10 of the ’970 Patent in the United States because Defendant’s customers

use such Accused Products, including at least the Find My Device (formerly known as Android

Device Manager) applications and/or services or the Accused Products with the Find My Device



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applications and/or services, alone or in conjunction with additional Accused Products, in

accordance with Defendant’s instructions and thereby directly infringe at least claim 10 of the

’970 Patent in violation of 35 U.S.C. § 271. For example, Google directly and/or indirectly

intentionally instructs its customers to infringe through training videos, demonstrations,

brochures, installations and/or user guides, such as those located at one or more of the following:

https://support.google.com/android/answer/6160491?hl=en;

https://support.google.com/android/answer/3265955?hl=en;

https://www.youtube.com/watch?time_continue=10&v=Kic-A51Wqgk, and Google agents and

representatives located within this Judicial District. Defendant is thereby liable for infringement

of the ’970 Patent under 35 U.S.C. § 271(b).

       93.     For example, Defendant directly infringes and/or indirectly infringes by

instructing its customers to infringe using Accused Products as shown below.




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Source: https://support.google.com/accounts/answer/3265955?hl=en




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Source: https://play.google.com/store/apps/details?id=com.google.android.apps.adm&hl=en_US




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Source: https://play.google.com/store/apps/details?id=com.google.android.apps.adm&hl=en_US




Source: https://play.google.com/store/apps/details?id=com.google.android.apps.adm&hl=en_US

       94.     AGIS Software has suffered damages as a result of Defendant’s direct and

indirect infringement of the ’970 Patent in an amount to be proved at trial.

       95.     AGIS Software has suffered, and will continue to suffer, irreparable harm as a

result of Defendant’s infringement of the ’970 Patent for which there is no adequate remedy at

law, unless Defendant’s infringement is enjoined by this Court.

       96.     Defendant has committed and continues to commit acts of infringement that

Defendant actually knew or should have known constituted an unjustifiably high risk of

infringement of at least one valid and enforceable claim of the ’970 Patent. Defendant’s


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infringement of the ’970 Patent has been and continues to be willful, entitling AGIS Software to

an award of treble damages, reasonable attorney fees, and costs in bringing this action.

                                           COUNT II
                                 (Infringement of the ’055 Patent)

        97.      Paragraphs 1 through 87 are incorporated herein by reference as if fully set forth

in their entireties.

        98.      AGIS Software has not licensed or otherwise authorized Defendant to make, use,

offer for sale, sell, or import any Accused Products and/or products that embody the inventions

of the ’055 Patent.

        99.      Defendant has and continues to directly infringe at least claim 8 of the ’055

Patent, either literally or under the doctrine of equivalents, by making, using, offering to sell,

selling and/or importing into the United States the Accused Products without authority and in

violation of 35 U.S.C. § 271(a).

        100.     Defendant has and continues to indirectly infringe at least claim 8 of the ’055

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either

literally or under the doctrine of equivalents, by making, using, offering to sell, selling and/or

importing into the United States the Accused Products and by instructing users of the Accused

Products to perform methods claimed in the ’055 Patent. For example, Defendant, with

knowledge that the Accused Products infringe the ’055 Patent at least as of the date of this

Complaint, actively, knowingly, and intentionally induced, and continues to knowingly and

intentionally induce direct infringement of the ’055 Patent in violation of 35 U.S.C. § 271(b).

        101.     For example, Defendant has indirectly infringed and continues to indirectly

infringe at least claim 8 of the ’055 Patent in the United States because Defendant’s customers

use the Accused Products, including at least the Google Maps applications and/or services or the



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Accused Products with the Google Maps applications and/or services, alone or in conjunction

with additional Accused Products, in accordance with Defendant’s instructions and thereby

directly infringe at least claim 8 of the ’055 Patent in violation of 35 U.S.C. § 271. Defendant

directly and/or indirectly intentionally instructs its customers to infringe through training videos,

demonstrations, brochures, installations and/or user guides, such as those located at one or more

of the following:

https://support.google.com/maps/answer/7326816?co=GENIE.Platform%3DAndroid&hl;

https://support.google.com/maps/answer/7047426?hl=en&ref_topic=7301134;

https://support.google.com/maps/answer/7326816?hl=en&ref_topic=7301134&co=GENIE.Platf

orm%3DAndroid&oco=1=en, and Google agents and representatives located within this Judicial

District. Defendant is thereby liable for infringement of the ’055 Patent under 35 U.S.C.

§ 271(b).

       102.    For example, the Accused Products are pre-installed with at least the Google

Maps app which allows users to share their locations and view other users’ locations on a map

and to communicate with those users via the Google Maps app (as shown below) which is

integrated with Google Messages or Android Messenger and which is also pre-installed on the

exemplary Accused Products.

       103.    Additionally, the exemplary Accused Products allow users to establish groups and

to exchange messages via interaction with Google’s servers which provide the Google Cloud

service, Google Maps service, and Google Messages service, among other relevant services. The

exemplary Accused Products further allow users to retrieve map information from multiple

sources including street-view maps, as well as satellite renderings.




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       104.   The exemplary Accused Products are programmed to obtain contact information

from other users’ devices where that contact information includes phone numbers. (e.g.,

https://support.google.com/nexus/answer/6118731?hl=en&ref_topic=6118711).

       105.   The exemplary Accused Products are further programmed to facilitate the

initiation of Internet Protocol (IP) based communication between devices with SMS messages

and other text messages. This functionality is available at least through Google Hangouts and

the Messages apps. (e.g.,

https://play.google.com/store/apps/details?id=com.google.android.apps.messaging&hl=en;

https://play.google.com/store/apps/details?id=com.google.android.talk&hl=en). The IP- and

SMS-based messages include location information as depicted below. (e.g.,

https://blog.google/topics/rcs/delivering-rcs-messaging-android-users-worldwide/).




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       106.    This location information is presented on interactive displays on the exemplary

Accused Products which include interactive maps and a plurality of user-selectable symbols

corresponding to other devices. These symbols are positioned on the map at positions

corresponding to the locations of the other devices, as depicted below. (e.g.,

https://arstechnica.com/gadgets/2017/03/location-sharing-finally-returns-to-google-maps/).




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       107.    The exemplary Accused Products are further programmed to permit interaction

with the display where a user may select one or more symbols and where the exemplary Accused

Products further permit data to be sent to other devices based on that interaction. The exemplary

Accused Products are further programmed to permit users to specify additional locations and to

communicate those user-specified locations to other users via symbols on an interactive display

as depicted below. (e.g.,

https://support.google.com/maps/answer/144361?co=GENIE.Platform%3DAndroid&hl=en).




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        108.     AGIS Software has suffered damages as a result of Defendant’s direct and

indirect infringement of the ’055 Patent in an amount to be proved at trial.

        109.     AGIS Software has suffered, and will continue to suffer, irreparable harm as a

result of Defendant’s infringement of the ’055 Patent for which there is no adequate remedy at

law, unless Defendant’s infringement is enjoined by this Court.

        110.     Defendant has committed and continues to commit acts of infringement that

Defendant actually knew or should have known constituted an unjustifiably high risk of

infringement of at least one valid and enforceable claim of the ’055 Patent. Defendant’s

infringement of the ’055 Patent has been and continues to be willful, entitling AGIS Software to

an award of treble damages, reasonable attorney fees, and costs in bringing this action.

                                           COUNT III
                                 (Infringement of the ’251 Patent)

        111.     Paragraphs 1 through 87 are incorporated herein by reference as if fully set forth

in their entireties.

        112.     AGIS Software has not licensed or otherwise authorized Defendant to make, use,

offer for sale, sell, or import any products that embody the inventions of the ’251 Patent.

        113.     Defendant has and continues to directly infringe at least claim 24 of the ’251

Patent, either literally or under the doctrine of equivalents, by making, using, offering to sell,

selling and/or importing into the United States the Accused Products without authority and in

violation of 35 U.S.C. § 271(a).

        114.     Defendant has and continues to indirectly infringe at least claim 24 of the ’251

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either

literally or under the doctrine of equivalents, by making, using, offering to sell, selling and/or

importing into the United States the Accused Products and by instructing users of the Accused



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Products to perform methods claimed in the ’251 Patent. For example, Defendant, with

knowledge that the Accused Products infringe the ’251 Patent at least as of the date of this

Complaint, actively, knowingly, and intentionally induced, and continues to actively, knowingly,

and intentionally induce, direct infringement of the ’251 Patent.

       115.    For example, Defendant has indirectly infringed and continues to indirectly

infringe at least claim 24 of the ’251 Patent in the United States because Defendant’s customers

use the Accused Products, including at least the Google Maps applications and/or services or the

Accused Products with the Google Maps applications and/or services, alone or in conjunction

with additional Accused Products, in accordance with Defendant’s instructions and thereby

directly infringe at least one claim of the ’251 Patent in violation of 35 U.S.C. § 271. Defendant

directly and/or indirectly intentionally instructs its customers to infringe through training videos,

demonstrations, brochures, installations and/or user guides, such as those located at one or more

of the following:

https://support.google.com/maps/answer/7326816?co=GENIE.Platform%3DAndroid&hl;

https://support.google.com/maps/answer/7047426?hl=en&ref_topic=7301134;

https://support.google.com/maps/answer/7326816?hl=en&ref_topic=7301134&co=GENIE.Platf

orm%3DAndroid&oco=1=en, and Google agents and representatives located within this Judicial

District. Defendant is thereby liable for infringement of the ’251 Patent under 35 U.S.C.

§ 271(b).

       116.    For example, Defendant’s Accused Products are pre-installed with at least the

Google Maps app which allows users to share their locations and view other users’ locations on a

map and to communicate with those users via the Google Maps app (as shown below) which is




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integrated with Google Messages or Android Messenger and which is also pre-installed on the

Accused Products.




       117.   For example, the exemplary Accused Products allow users to establish groups and

to exchange messages via interaction with Google’s servers which provide the Google Cloud

service, Google Maps service, and Google Messages service, among other relevant services. The

exemplary Accused Products further allow users to retrieve map information from multiple

sources including street-view maps.

       118.   The exemplary Accused Products are programmed to receive messages from other

devices where those messages relate to joining groups as depicted below. (e.g.,

https://support.google.com/plus/answer/3302509?hl=en&co=GENIE.Platform%3DAndroid&oco

=1; https://support.google.com/mail/answer/30970?hl=en).




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       119.    The exemplary Accused Products are further programmed to facilitate

participation in the groups by communicating with a server and sending to and receiving location

information as depicted below. (e.g.,

https://developers.google.com/maps/documentation/android-api/location).




       120.    This location information is presented on interactive displays on the exemplary

Accused Products which include interactive maps and a plurality of user selectable symbols

corresponding to other devices. These symbols are positioned on the map at positions

corresponding to the locations of the other devices as depicted below. (e.g.,

https://arstechnica.com/gadgets/2017/03/location-sharing-finally-returns-to-google-maps/).



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       121.    The exemplary Accused Products are further programmed to permit users to

request and display additional maps by, for example, moving the map screen and/or by selecting

satellite image maps. The exemplary Accused Products are further programmed to permit

interaction with the display where a user may select one or more symbols and where the

exemplary Accused Products further permit data to be sent to other devices based on that

interaction.

       122.    AGIS Software has suffered damages as a result of Defendant’s direct and

indirect infringement of the ’251 Patent in an amount to be proved at trial.

       123.    AGIS Software has suffered, and will continue to suffer, irreparable harm as a

result of Defendant’s infringement of the ’251 Patent for which there is no adequate remedy at

law, unless Defendant’s infringement is enjoined by this Court.

       124.    Defendant has committed and continues to commit acts of infringement that

Defendant actually knew or should have known constituted an unjustifiably high risk of

infringement of at least one valid and enforceable claim of the ’251 Patent. Defendant’s

infringement of the ’251 Patent has been and continues to be willful, entitling AGIS Software to

an award of treble damages, reasonable attorney fees, and costs in bringing this action.



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                                           COUNT IV
                                 (Infringement of the ’838 Patent)

        125.     Paragraphs 1 through 87 are incorporated herein by reference as if fully set forth

in their entireties.

        126.     AGIS Software has not licensed or otherwise authorized Defendant to make, use,

offer for sale, sell, or import any Accused Products and/or products that embody the inventions

of the ’838 Patent.

        127.     Defendant has and continues to directly infringe at least claim 54 of the ’838

Patent, either literally or under the doctrine of equivalents, by making, using, offering to sell,

selling and/or importing into the United States the Accused Products without authority and in

violation of 35 U.S.C. § 271(a).

        128.     Defendant has and continues to indirectly infringe at least claim 54 of the ’838

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either

literally or under the doctrine of equivalents, by making, using, offering to sell, selling and/or

importing into the United States the Accused Products and by instructing users of the Accused

Products to perform methods claimed in the ’838 Patent. For example, Defendant, with

knowledge that the Accused Products infringe the ’838 Patent at least as of the date of this

Complaint, actively, knowingly, and intentionally induced, and continues to actively, knowingly,

and intentionally induce direct infringement of the ’838 Patent.

        129.     For example, Defendant has indirectly infringed and continues to indirectly

infringe at least claim 54 of the ’838 Patent in the United States because Defendant’s customers

use the Accused Products, including at least the Google Maps applications and/or services or the

Accused Products with the Google Maps applications and/or services, alone or in conjunction

with additional Accused Products, in accordance with Defendant’s instructions and thereby



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directly infringe at least one claim of the ’838 Patent in violation of 35 U.S.C. § 271. Defendant

directly and/or indirectly intentionally instructs its customers to infringe through training videos,

demonstrations, brochures, installations and/or user guides such as those located at one or more

of the following:

https://support.google.com/maps/answer/7326816?co=GENIE.Platform%3DAndroid&hl;

https://support.google.com/maps/answer/7047426?hl=en&ref_topic=7301134;

https://support.google.com/maps/answer/7326816?hl=en&ref_topic=7301134&co=GENIE.Platf

orm%3DAndroid&oco=1=en, and Google agents and representatives located within this Judicial

District. Defendant is thereby liable for infringement of the ’838 Patent under 35 U.S.C.

§ 271(b).

       130.    For example, Defendant’s Accused Products are pre-installed with at least the

Google Maps app which allows users to share their locations and view other users’ locations on a

map and to communicate with those users via the Google Maps app (as shown below) which is

integrated with Google Messages or Android Messenger and which is also pre-installed on the

Accused Products.




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       131.    Additionally, the exemplary Accused Products allow users to establish groups and

to exchange messages via interaction with Google’s servers which provide the Google Cloud

service, Google Maps service, and Google Messages service, among other relevant services. The

exemplary Accused Products further allow users to retrieve map information from multiple

sources including street-view maps, as well as satellite renderings.

       132.    The exemplary Accused Products are programmed to form and join groups by

transmitting messages. (e.g.,

https://support.google.com/plus/answer/3302509?hl=en&co=GENIE.Platform%3DAndroid&oco

=1; https://support.google.com/mail/answer/30970?hl=en).




       133.    The exemplary Accused Products are further programmed to facilitate

participation in the groups by communicating with one or more servers and sending to and

receiving location information as depicted below. (See, e.g.,

https://developers.google.com/maps/documentation/android-api/location).




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       134.    This location information is presented on interactive displays on the exemplary

Accused Products which include interactive maps and a plurality of user selectable symbols

corresponding to other devices. These symbols are positioned on the map at positions

corresponding to the locations of the other devices as depicted below. (e.g.,

https://arstechnica.com/gadgets/2017/03/location-sharing-finally-returns-to-google-maps/).




       135.    The exemplary Accused Products are further programmed to permit users to

request and display additional maps from additional servers by, for example, moving the map

screen and/or by selecting satellite images or other types of maps. The exemplary Accused

Products are further programmed to permit interaction with the display where a user may select


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one or more symbols and where the exemplary Accused Products further permit data to be sent

to other devices based on that interaction.

        136.     AGIS Software has suffered damages as a result of Defendant’s direct and

indirect infringement of the ’838 Patent in an amount to be proved at trial.

        137.     AGIS Software has suffered, and will continue to suffer, irreparable harm as a

result of Defendant’s infringement of the ’838 Patent for which there is no adequate remedy at

law, unless Defendant’s infringement is enjoined by this Court.

        138.     Defendant has committed and continues to commit acts of infringement that

Defendant actually knew or should have known constituted an unjustifiably high risk of

infringement of at least one valid and enforceable claim of the ’838 Patent. Defendant’s

infringement of the ’838 Patent has been and continues to be willful, entitling AGIS Software to

an award of treble damages, reasonable attorney fees, and costs in bringing this action.

                                           COUNT V
                                 (Infringement of the ’829 Patent)

        139.     Paragraphs 1 through 87 are incorporated herein by reference as if fully set forth

in their entireties.

        140.     AGIS Software has not licensed or otherwise authorized Defendant to make, use,

offer for sale, sell, or import any Accused Products and/or products that embody the inventions

of the ’829 Patent.

        141.     Defendant has and continues to directly infringe at least claim 68 of the ’829

Patent, either literally or under the doctrine of equivalents, by making, using, offering to sell,

selling and/or importing into the United States the Accused Products without authority and in

violation of 35 U.S.C. § 271(a).




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       142.    Defendant has and continues to indirectly infringe at least claim 68 of the ’829

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either

literally or under the doctrine of equivalents, by making, using, offering to sell, selling and/or

importing into the United States the Accused Products and by instructing users of the Accused

Products to perform methods claimed in the ’829 Patent. For example, Defendant, with

knowledge that the Accused Products infringe the ’829 Patent at least as of the date of this

Complaint, actively, knowingly, and intentionally induced, and continues to actively, knowingly,

and intentionally induce direct infringement of the ’829 Patent in violation of 35 U.S.C.

§ 271(b).

       143.    For example, Defendant has indirectly infringed and continues to indirectly

infringe at least claim 68 of the ’829 Patent in the United States because Defendant’s customers

use the Accused Products, including at least the Google Maps applications and/or services or the

Accused Products with the Google Maps applications and/or services installed on the Accused

Products, alone or in conjunction with additional Accused Products, in accordance with

Defendant’s instructions and thereby directly infringe at least one claim of the ’838 Patent in

violation of 35 U.S.C. § 271. Defendant directly and/or indirectly intentionally instructs its

customers to infringe through training videos, demonstrations, brochures, installations and/or

user guides such as those located at one or more of the following:

https://support.google.com/maps/answer/7326816?co=GENIE.Platform%3DAndroid&hl;

https://support.google.com/maps/answer/7047426?hl=en&ref_topic=7301134;

https://support.google.com/maps/answer/7326816?hl=en&ref_topic=7301134&co=GENIE.Platf

orm%3DAndroid&oco=1=en, and Google agents and representatives located within this Judicial




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District. Defendant is thereby liable for infringement of the ’829 Patent under 35 U.S.C.

§ 271(b).

       144.    For example, Defendant’s Accused Products are pre-installed with at least the

Google Maps app which allows users to share their locations and view other users’ locations on a

map and to communicate with those users via the Google Maps app (as shown below) which is

integrated with Google Messages or Android Messenger and which is also pre-installed on the

Accused Products.




       145.    Additionally, the exemplary Accused Products allow users to establish groups and

to exchange messages via interaction with Google’s servers which provide the Google Cloud

service, Google Maps service, and Google Messages service, among other relevant services. The

exemplary Accused Products further allow users to retrieve map information from multiple

sources including street-view maps, as well as satellite renderings.

       146.    The exemplary Accused Products are programmed to form and join groups by

transmitting messages. (e.g.,

https://support.google.com/plus/answer/3302509?hl=en&co=GENIE.Platform%3DAndroid&oco

=1; https://support.google.com/mail/answer/30970?hl=en).



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       147.    The exemplary Accused Products are further programmed to facilitate

participation in the groups by communicating with one or more servers and sending to and

receiving location information as depicted below. (See, e.g.,

https://developers.google.com/maps/documentation/android-api/location).




       148.    This location information is presented on interactive displays on the exemplary

Accused Products which include interactive maps and a plurality of user selectable symbols

corresponding to other devices. These symbols are positioned on the map at positions

corresponding to the locations of the other devices as depicted below. (e.g.,

https://arstechnica.com/gadgets/2017/03/location-sharing-finally-returns-to-google-maps/).




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       149.    The exemplary Accused Products are further programmed to permit users to

request and display additional maps from additional servers by, for example, moving the map

screen and/or by selecting satellite images or other types of maps. The exemplary Accused

Products are further programmed to permit interaction with the display where a user may select

one or more symbols and where the exemplary Accused Products further permit data to be sent

to other devices based on that interaction.

       150.    AGIS Software has suffered damages as a result of Defendant’s direct and

indirect infringement of the ’829 Patent in an amount to be proved at trial.

       151.    AGIS Software has suffered, and will continue to suffer, irreparable harm as a

result of Defendant’s infringement of the ’829 Patent for which there is no adequate remedy at

law, unless Defendant’s infringement is enjoined by this Court.

       152.    Defendant has committed and continues to commit acts of infringement that

Defendant actually knew or should have known constituted an unjustifiably high risk of

infringement of at least one valid and enforceable claim of the ’829 Patent. Defendant’s

infringement of the ’829 Patent has been and continues to be willful, entitling AGIS Software to

an award of treble damages, reasonable attorney fees, and costs in bringing this action.




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                                           COUNT VI
                                 (Infringement of the ’123 Patent)

        153.     Paragraphs 1 through 87 are incorporated herein by reference as if fully set forth

in their entireties.

        154.     AGIS Software has not licensed or otherwise authorized Defendant to make, use,

offer for sale, sell, or import any Accused Products and/or products that embody the inventions

of the ’123 Patent.

        155.     Defendant has and continues to directly infringe at least claim 23 of the ’123

Patent, either literally or under the doctrine of equivalents, by making, using, offering to sell,

selling and/or importing into the United States the Accused Products without authority and in

violation of 35 U.S.C. § 271(a).

        156.     Defendant has and continues to indirectly infringe at least claim 23 of the ’123

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either

literally or under the doctrine of equivalents, by making, using, offering to sell, selling and/or

importing into the United States the Accused Products and by instructing users of the Accused

Products to perform methods claimed in the ’123 Patent. For example, Defendant, with

knowledge that the Accused Products infringe the ’123 Patent at least as of the date of this

Complaint, actively, knowingly, and intentionally induced, and continues to actively, knowingly,

and intentionally induce direct infringement of the ’123 Patent.

        157.     For example, Defendant has indirectly infringed and continues to indirectly

infringe at least claim 23 of the ’123 Patent in the United States because Defendant’s customers

use the Accused Products, including at least the Google Maps applications and/or services or the

Accused Products with the Google Maps applications and/or services, alone or in conjunction

with additional Accused Products, in accordance with Defendant’s instructions and thereby



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directly infringe at least one claim of the ’123 Patent in violation of 35 U.S.C. § 271. Defendant

directly and/or indirectly intentionally instructs its customers to infringe through training videos,

demonstrations, brochures, installations and/or user guides such as those located at one or more

of the following:

https://support.google.com/maps/answer/7326816?co=GENIE.Platform%3DAndroid&hl;

https://support.google.com/maps/answer/7047426?hl=en&ref_topic=7301134;

https://support.google.com/maps/answer/7326816?hl=en&ref_topic=7301134&co=GENIE.Platf

orm%3DAndroid&oco=1=en, and Google agents and representatives located within this Judicial

District. Defendant is thereby liable for infringement of the ’123 Patent under 35 U.S.C.

§ 271(b).

       158.    For example, Defendant’s Accused Products are pre-installed with at least the

Google Maps app which allows users to share their locations and view other users’ locations on a

map and to communicate with those users via the Google Maps app (as shown below) which is

integrated with Google Messages or Android Messenger and which is also pre-installed on the

Accused Products.




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       159.    Additionally, the exemplary Accused Products allow users to establish groups and

to exchange messages via interaction with Google’s servers which provide the Google Cloud

service, Google Maps service, and Google Messages service, among other relevant services. The

exemplary Accused Products further allow users to retrieve map information from multiple

sources including street-view maps, as well as satellite renderings.

       160.    The exemplary Accused Products are programmed to form and join groups by

transmitting messages. (e.g.,

https://support.google.com/plus/answer/3302509?hl=en&co=GENIE.Platform%3DAndroid&oco

=1; https://support.google.com/mail/answer/30970?hl=en).




       161.    The exemplary Accused Products are further programmed to facilitate

participation in the groups by communicating with one or more servers and sending to and

receiving location information as depicted below. (See, e.g.,

https://developers.google.com/maps/documentation/android-api/location).




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       162.    This location information is presented on interactive displays on the exemplary

Accused Products which include interactive maps and a plurality of user selectable symbols

corresponding to other devices. These symbols are positioned on the map at positions

corresponding to the locations of the other devices as depicted below. (e.g.,

https://arstechnica.com/gadgets/2017/03/location-sharing-finally-returns-to-google-maps/)




       163.    The exemplary Accused Products are further programmed to permit users to

request and display additional maps from additional servers by, for example, moving the map

screen and/or by selecting satellite images or other types of maps. The exemplary Accused



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Products are further programmed to permit interaction with the display where a user may select

one or more symbols and where the exemplary Accused Products further permit data to be sent

to other devices based on that interaction.

       164.    AGIS Software has suffered damages as a result of Defendant’s direct and

indirect infringement of the ’123 Patent in an amount to be proved at trial.

       165.    AGIS Software has suffered, and will continue to suffer, irreparable harm as a

result of Defendant’s infringement of the ’123 Patent for which there is no adequate remedy at

law, unless Defendant’s infringement is enjoined by this Court.

       166.    Defendant has committed and continues to commit acts of infringement that

Defendant actually knew or should have known constituted an unjustifiably high risk of

infringement of at least one valid and enforceable claim of the ’123 Patent. Defendant’s

infringement of the ’123 Patent has been and continues to be willful, entitling AGIS Software to

an award of treble damages, reasonable attorney fees, and costs in bringing this action.

                                   DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury for all issues so triable.

                                     PRAYER FOR RELIEF

        WHEREFORE, AGIS Software prays for relief against Defendant as follows:

       a.      Entry of judgment declaring that Defendant has directly and/or indirectly

infringed one or more claims of each of the Patents-in-Suit;

       b.      Entry of judgment declaring that Defendant’s infringement of the Patents-in-Suit

has been willful and deliberate;

       c.      An order pursuant to 35 U.S.C. § 283 permanently enjoining Defendant, its

officers, agents, servants, employees, attorneys, and those persons in active concert or




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participation with it, from further acts of infringement of the Patents-in-Suit;

       d.      An order awarding damages sufficient to compensate AGIS Software for

Defendant’s infringement of the Patents-in-Suit, but in no event less than a reasonable royalty,

together with interest and costs;

       e.      An order awarding AGIS Software treble damages under 35 U.S.C. § 284 as a

result of Defendant’s willful and deliberate infringement of the Patents-in-Suit;

       f.      Entry of judgment declaring that this case is exceptional and awarding AGIS

Software its costs and reasonable attorney fees under 35 U.S.C. § 285; and

       g.      Such other and further relief as the Court deems just and proper.

Dated: November 4, 2019                               Respectfully submitted,

                                                      MCKOOL SMITH, P.C.

                                                        /s/ Alfred R. Fabricant
                                                      Samuel F. Baxter
                                                      Texas State Bar No. 01938000
                                                      sbaxter@mckoolsmith.com
                                                      Jennifer L. Truelove
                                                      Texas State Bar No. 24012906
                                                      jtruelove@mckoolsmith.com
                                                      MCKOOL SMITH, P.C.
                                                      104 E. Houston Street, Suite 300
                                                      Marshall, Texas 75670
                                                      Telephone: (903) 923-9000
                                                      Facsimile: (903) 923-9099

                                                      Alfred R. Fabricant
                                                      NY Bar No. 2219392
                                                      Email: afabricant@brownrudnick.com
                                                      Peter Lambrianakos
                                                      NY Bar No. 2894392
                                                      Email: plambrianakos@brownrudnick.com
                                                      Vincent J. Rubino, III
                                                      NY Bar No. 4557435
                                                      Email: vrubino@brownrudnick.com
                                                      BROWN RUDNICK LLP
                                                      7 Times Square



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                                         New York, NY 10036
                                         Telephone: (212) 209-4800
                                         Facsimile: (212) 209-4801

                                         ATTORNEYS FOR PLAINTIFF,
                                         AGIS SOFTWARE DEVELOPMENT
                                         LLC




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